             Case 18-13392-djb                  Doc        Filed 06/11/25 Entered 06/11/25 20:35:48                  Desc Main
 Fill in this information to identify the case:
                                                            Document     Page 1 of 5
 Debtor 1
                       Joan J. Alleyne

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern     District of             Pennsylvania
                                                                             (State)
 Case number           18-13392-djb




Form 4100R
Response to Notice of Final Cure Payment                                                                                          10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


 Part 1:       Mortgage Information
                                                                                                    Court claim no. (if known):
 Name of Creditor:          U.S. Bank Trust National Association, not in its individual             11
                            capacity, but solely as Trustee of LSF9 Master Participation
                            Trust

 Last 4 digits of any number you use to identify the debtor’s account: XXXXXX9902

 Property address:                       5718 Pentridge St
                                         Number          Street

                                         Philadelphia, PA 19143
                                         City                  State        ZIP Code

 Part 2:       Pre-petition Default Payments
 Check one:
  Creditor agrees that the debtor(s) have paid in full the amount required to cure the pre-petition default
   on the creditor’s claim
  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the pre-petition
   default on the creditor’s claim. Creditor asserts that the total pre-petition amount remaining unpaid
                                                                                                                                  $________
   as of the date of this response is:

 Part 3:       Post-petition Mortgage Payment
 Check one:
   Creditor states that the debtor(s) are current with all post-petition payments consistent with § 1322(b)(5)
  of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     The next post-petition payment from the debtor(s) is due on:
                                                                                  MM/DD/YYYY

  Creditor states that the debtor(s) are not current on all post-petition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     Creditor asserts that the total amount remaining unpaid as of the date of this response is:
     a. Total post-petition payments due:                                                                         (a) $                0.00
     b.     Total fees, charges, expenses, escrow, and costs outstanding                                        +(b) $            1,400.00
            Less Suspense                                                                                                           (70.39)
     c.     Total. Add lines a and b                                                                              (c) $           1,329.61
     Creditor asserts that the debtor(s) are contractually
     Obligated for the post-petition payment(s) that first became
     Due on:                                                                           07/01/2025
     There are fees due in the amount of $1,400.00 that are                            MM/DD/YYYY
     outstanding, and these fees are listed on the Post-Petition Fee
     Notice filed on 8/10/2018.




 Form 4100R                                        Response to Notice of Final Cure Payment                                          Page | 1
          Case 18-13392-djb                      Doc       Filed 06/11/25 Entered 06/11/25 20:35:48                                       Desc Main
                                                            Document     Page 2 of 5
   Debtor 1           Joan J. Alleyne                                                                          Case number 18-13392-djb
                      First Name Middle Name         Last Name


Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the pre-petition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all post-petition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:
     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:
 I am the creditor
 I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



                      /s/Maria Tsagaris                                                                     Date    06/11/2025
                      Signature


Print                 Maria Tsagaris                                                                        Title   Authorized Agent for the Creditor
                      First Name           Middle Name           Last Name



Company               McCalla Raymer Leibert Pierce, LLP


If different from the notice address listed on the proof of claim to which this response applies:




Address               325 Chestnut Street, Suite 725
                      Number               Street



                      Philadelphia, PA 19106
                      City               State             Zip Code


   Contact phone      678-281-6532                                                                  Email      Maria.Tsagaris@mccalla.com




Form 4100R                                          Response to Notice of Final Cure Payment                                                            Page | 2
  Case 18-13392-djb        Doc     Filed 06/11/25 Entered 06/11/25 20:35:48            Desc Main
                                    Document     Page 3 of 5



                                               Bankruptcy Case No.:     18-13392-djb
In Re:   Joan J. Alleyne                       Chapter:                 13
                                               Judge:                   Derek J Baker

                                 CERTIFICATE OF SERVICE

   I, Maria Tsagaris, of McCalla Raymer Leibert Pierce, LLP, 325 Chestnut Street, Suite 725,
   Philadelphia, PA 19106, certify:

   That I am, and at all times hereinafter mentioned, was more than 18 years of age;

   That on the date below, I caused to be served a copy of the within Response to Notice of Final
   Cure Payment filed in this bankruptcy matter on the following parties at the addresses shown,
   by regular United States Mail, with proper postage affixed, unless another manner of service is
   expressly indicated:

Joan J. Alleyne
5718 Pentridge Street
Philadelphia, PA 19143

MICHAEL A. CIBIK, Esq.                      (served via ECF Notification)
Cibik Law, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102

Kenneth E. West, Trustee                    (served via ECF Notification)
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West
Suite 701
Philadelphia, PA 19106

United States Trustee                       (served via ECF Notification)
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.


Executed on:      06/11/2025     By:    /s/Maria Tsagaris
                    (date)              Maria Tsagaris,
                                        Authorized Agent for the Creditor
     Case 18-13392-djb       Doc      Filed 06/11/25 Entered 06/11/25 20:35:48             Desc Main
BK Filed Date: 5/22/18                       Fay Servicing,
                                       Document         PageLLC4 of 5
Debtor Name: Alleyne                   Post Petition Payment Ledger
                                                                           To/From        Suspense
Pmt Due/Comments     Amt Due     Date Received Amt Rec'd    Pmt Satisified Suspense       Balance
Begin Suspense                                                              $        -     $         -
                         $516.56   6/13/2018        $516.56   6/1/2018      $        -     $         -
                         $516.56   7/16/2018        $516.56   7/1/2018      $        -     $         -
                         $516.56   8/14/2018        $516.56   8/1/2018      $        -     $         -
                         $516.56   9/17/2018        $516.56   9/1/2018      $        -     $         -
                         $516.56 10/15/2018         $516.56  10/1/2018      $        -     $         -
                         $516.56 11/19/2018         $516.56  11/1/2018      $        -     $         -
                         $516.56 12/17/2018         $516.56  12/1/2018      $        -     $         -
                         $516.56   1/14/2019        $516.56   1/1/2019      $        -     $         -
                         $516.56   2/18/2019        $516.56   2/1/2019      $        -     $         -
                         $518.21    3/1/2019        $518.21   3/1/2019      $        -     $         -
                                    4/9/2019        $516.56                 $    516.56 $         516.56
                         $518.21   5/17/2019        $516.56   4/1/2019      $      (1.65) $       514.91
                         $518.21   6/14/2019        $516.56   5/1/2019      $      (1.65) $       513.26
                         $518.21   7/16/2019        $516.56   6/1/2019      $      (1.65) $       511.61
                         $518.21   8/15/2019        $516.56   7/1/2019      $      (1.65) $       509.96
                         $518.21   9/16/2019        $516.56   8/1/2019      $      (1.65) $       508.31
                         $518.21   10/3/2019        $516.56   9/1/2019      $      (1.65) $       506.66
                         $518.21 11/18/2019         $516.56  10/1/2019      $      (1.65) $       505.01
                         $518.21 12/16/2019         $516.56  11/1/2019      $      (1.65) $       503.36
                         $518.21   1/10/2020        $516.56  12/1/2019      $      (1.65) $       501.71
                         $518.21   2/18/2020        $518.21   1/1/2020      $        -     $      501.71
                         $518.21   3/16/2020        $513.15   2/1/2020      $      (5.06) $       496.65
                         $513.15   4/14/2020        $518.21   3/1/2020      $       5.06 $        501.71
                         $513.15   5/18/2020        $513.15   4/1/2020      $        -     $      501.71
                         $513.15   6/15/2020        $513.15   5/1/2020      $        -     $      501.71
                         $513.15   7/16/2020        $513.15   6/1/2020      $        -     $      501.71
                         $513.15   8/17/2020        $513.15   7/1/2020      $        -     $      501.71
                         $513.15    9/4/2020        $518.21   8/1/2020      $       5.06 $        506.77
                         $513.15 10/16/2020         $518.21   9/1/2020      $       5.06 $        511.83
                         $513.15 11/16/2020         $513.15  10/1/2020      $        -     $      511.83
                         $513.15 12/14/2020         $513.15  11/1/2020      $        -     $      511.83
                         $513.15   1/13/2021        $513.15  12/1/2020      $        -     $      511.83
                         $513.15   2/12/2021        $513.15   1/1/2021      $        -     $      511.83
                         $513.15   3/10/2021        $532.09   2/1/2021      $     18.94 $         530.77
                         $532.09   4/15/2021        $532.09   3/1/2021      $        -     $      530.77
                         $532.09   5/17/2021        $532.09   4/1/2021      $        -     $      530.77
                         $532.09   6/14/2021        $532.09   5/1/2021      $        -     $      530.77
                         $532.09   7/15/2021        $532.09   6/1/2021      $        -     $      530.77
                         $532.09   8/16/2021        $532.09   7/1/2021      $        -     $      530.77
                         $522.09   9/16/2021        $532.09   8/1/2021      $     10.00 $         540.77
                         $522.09                              9/1/2021      $   (522.09) $         18.68
                         $522.09 10/15/2021 $        532.09  10/1/2021      $     10.00 $          28.68
                         $522.09 11/15/2021 $        532.09  11/1/2021      $     10.00 $          38.68
                         $522.09 12/15/2021 $        532.09  12/1/2021      $     10.00 $          48.68
                         $522.09   1/15/2022    $    532.15   1/1/2022      $     10.06 $          58.74
                         $522.09   2/15/2022    $    532.15   2/1/2022      $     10.06 $          68.80
                         $524.92   3/15/2022    $    525.00   3/1/2022      $       0.08 $         68.88
                         $524.92   4/14/2022    $    522.09   4/1/2022      $      (2.83) $        66.05
                         $524.92   5/12/2022    $    522.09   5/1/2022      $      (2.83) $        63.22
                         $524.92   6/14/2022    $    522.09   6/1/2022      $      (2.83) $        60.39
                         $524.92   7/15/2022    $    524.92   7/1/2022      $        -     $       60.39
                         $524.92   8/15/2022    $    524.92   8/1/2022      $        -     $       60.39
      Case 18-13392-djb       Doc     Filed 06/11/25 Entered 06/11/25 20:35:48          Desc Main
BK Filed Date: 5/22/18                       Fay Servicing,
                                       Document         PageLLC5 of 5
Debtor Name: Alleyne                   Post Petition Payment Ledger
                         $524.92     9/15/2022   $    524.92     9/1/2022  $       -    $       60.39
                         $524.92    10/13/2022   $    524.92    10/1/2022  $       -    $       60.39
                         $524.92     11/9/2022   $    524.92    11/1/2022  $       -    $       60.39
                         $524.92     12/9/2022   $    524.92    12/1/2022  $       -    $       60.39
                                    12/13/2022   $    524.92               $    524.92 $       585.31
  Payment Reversal                  12/21/2022   $   (524.92)              $   (524.92) $       60.39
                     $    524.92     1/17/2023   $    534.92    1/1/2023   $     10.00 $        70.39
                     $    524.92     2/15/2023   $    524.92    2/1/2023   $       -    $       70.39
                     $    519.84     3/15/2023   $    519.84    3/1/2023   $       -    $       70.39
                     $    519.84     4/14/2023   $    519.84    4/1/2023   $       -    $       70.39
                     $    519.84     5/12/2023   $    519.84      5/1/2023 $       -    $       70.39
                     $    520.67     6/13/2023   $    520.67      6/1/2023 $       -    $       70.39
                     $    520.67     7/17/2023   $    520.67      7/1/2023 $       -    $       70.39
                     $    520.67     8/16/2023   $    520.67      8/1/2023 $       -    $       70.39
                     $    520.67     9/13/2023   $    520.67      9/1/2023 $       -    $       70.39
                     $    520.67    10/16/2023   $    520.67     10/1/2023 $       -    $       70.39
                     $    520.67    11/13/2023   $    520.67     11/1/2023 $       -    $       70.39
                     $    520.67    12/14/2023   $    520.67     12/1/2023 $       -    $       70.39
                     $    520.67     1/17/2024   $    520.67      1/1/2024 $       -    $       70.39
                     $    520.67     2/15/2024   $    520.67      2/1/2024 $       -    $       70.39
                     $    542.52     3/15/2024   $    542.52      3/1/2024 $       -    $       70.39
                     $    542.52     4/15/2024   $    542.52      4/1/2024 $       -    $       70.39
                     $    542.52     5/14/2024   $    542.52      5/1/2024 $       -    $       70.39
                     $    542.52     6/11/2024   $    542.52      6/1/2024 $       -    $       70.39
                     $    542.52     7/16/2024   $    542.52      7/1/2024 $       -    $       70.39
                     $    542.52     8/16/2024   $    542.52      8/1/2024 $       -    $       70.39
                     $    542.52      9/6/2024   $    542.52      9/1/2024 $       -    $       70.39
                     $    542.52    10/16/2024   $    542.52     10/1/2024 $       -    $       70.39
                     $    542.52    11/12/2024   $    542.52     11/1/2024 $       -    $       70.39
                     $    542.52    12/13/2024   $    542.52     12/1/2024 $       -    $       70.39
                     $    542.52     1/16/2025   $    542.52      1/1/2025 $       -    $       70.39
                     $    542.52     2/17/2025   $    542.52      2/1/2025 $       -    $       70.39
                     $    535.43     3/14/2025   $    535.43      3/1/2025 $       -    $       70.39
                     $    535.43     4/14/2025   $    535.43      4/1/2025 $       -    $       70.39
                     $    535.43     5/14/2025   $    535.43      5/1/2025 $       -    $       70.39
                     $    535.43      6/9/2025   $    535.43      6/1/2025 $       -    $       70.39
Suspense Balance                                                           $       -    $       70.39
Post-Petition Fees   $   1,400.00                                          $ (1,400.00) $   (1,329.61)
TOTAL DUE                                                                  $       -    $   (1,329.61)
